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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of New York

Maria Ruscelli

Plaintiffs)

Vv. Civil Action No. 23-cv-07475-LB

The Department of Education of the City of New York

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
The Department of Education of the City of New York
Corporation Council
100 Church Street
New York NY 10007

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Pro se Petitioner

Maria Ruscelli
2550 Independence Avenue,

Apt. 3M
Bronx, NY 10463

If you fail to respond, judgment by default will be entered against you for the relief demanded in the Cuicyp! aint.

You also must file your answer or motion with the court.
BRENNA B. MAHONEY

CLERK OF COURT: =

Date: 10/05/2023

(7 of Clerk or Deputy Clerk
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Civil Action No. 23-cv-07475-LB

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

on (date) ; or

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

CJ I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 5 or
OC I returned the summons unexecuted because
O Other (specif):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
